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 101-7-NFR
 /2009
 /2010
 2ems Inc.
                                                        UNITED STATES BANKRUPTCY COURT
                                                         NORTHERN DISTRICT OF ILLINOIS
                                                                EASTERN DIVISION

                  In re:                                              §
                                                                      §
                  PERCY V. COLEMAN                                    §     Case No. 15-22945
                                                                      §
                                      Debtor                          §

                                                    NOTICE OF TRUSTEE’S FINAL REPORT AND
                                                      APPLICATIONS FOR COMPENSATION
                                                        AND DEADLINE TO OBJECT (NFR)

                          Pursuant to Fed. R. Bankr. P. 2002(a)(6) and 2002(f)(8), please take notice that N. Neville Reid,
                  Trustee, trustee of the above styled estate, has filed a Final Report and the trustee and the trustee’s
                  professionals have filed final fee applications, which are summarized in the attached Summary of
                  Trustee's Final Report and Applications for Compensation.

                          The complete Final Report and all applications for compensation are available for inspection at
                  the Office of the Clerk, at the following address:
                                                 219 S. Dearborn Street
                                                 Chicago, IL 60604
                          Any person wishing to object to any fee application that has not already been approved or
                  to the Final Report, must file a written objection within 21 days from the mailing of this notice,
                  serve a copy of the objections upon the trustee, any party whose application is being challenged
                  and the United States Trustee.A hearing on the fee applications and any objection to the Final
                  Report will be held at 10:00 AM on August 30, 2016 in Courtroom 615 at the United States
                  Bankruptcy Court, 219 South Dearborn Street, Chicago, IL 60604.


                  Date Mailed: 08/09/2016                                 By: /s/ N. Neville Reid
                                                                                            Chapter 7 Trustee


                  N. Neville Reid, Trustee
                  Fox, Swibel, Levin & Carroll, LLP
                  200 West Madison Street
                  Suite 3000
                  Chicago, IL 60606




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                                              UNITED STATES BANKRUPTCY COURT
                                               NORTHERN DISTRICT OF ILLINOIS
                                                      EASTERN DIVISION


      In re:                                                                §
                                                                            §
      PERCY V. COLEMAN                                                      §         Case No. 15-22945
                                                                            §
                             Debtor                                         §

                                             SUMMARY OF TRUSTEE'S FINAL REPORT
                                             AND APPLICATIONS FOR COMPENSATION


                   The Final Report shows receipts of                                                                 $                   713,772.99
                   and approved disbursements of                                                                      $                         102.67
                                                            1
                   leaving a balance on hand of                                                                       $                   713,670.32


                 Claims of secured creditors will be paid as follows:


                                                                                 NONE


                 Applications for chapter 7 fees and administrative expenses have been filed as follows:

                                                                                                     Interim Payment             Proposed
                            Reason/Applicant                             Total Requested             to Date                     Payment
       Trustee Fees: N. NEVILLE REID                                    $           30,329.75 $                           0.00 $            30,329.75
       Attorney for Trustee Fees: FOX SWIBEL
       LEVIN & CARROLL LLP                                              $           15,349.00 $                           0.00 $            15,349.00
       Charges: Clerk of the Bankruptcy Court                           $               260.00 $                          0.00 $                260.00
       Other: FOX, SWIBEL, LEVIN &
       CARROLL LLP                                                      $                   3.60 $                        0.00 $                    3.60
                   Total to be paid for chapter 7 administrative expenses                                             $                     45,942.35
                   Remaining Balance                                                                                  $                   667,727.97




____________________
           1
              The balance of funds on hand in the estate may continue to earn interest until disbursed. The interest earned prior to disbursement
will be distributed pro rata to creditors within each priority category. The trustee may receive additional compensation not to exceed the
maximum compensation set forth under 11 U.S.C. §326(a) on account of the disbursement of the additional interest.

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               Applications for prior chapter fees and administrative expenses have been filed as follows:


                                                            NONE


              In addition to the expenses of administration listed above as may be allowed by the Court,
     priority claims totaling $ 0.00 must be paid in advance of any dividend to general (unsecured) creditors.

                 Allowed priority claims are:


                                                            NONE


             The actual distribution to wage claimants included above, if any, will be the proposed payment
     less applicable withholding taxes (which will be remitted to the appropriate taxing authorities).

             Timely claims of general (unsecured) creditors totaling $ 493,984.02 have been allowed and
     will be paid pro rata only after all allowed administrative and priority claims have been paid in full. The
     timely allowed general (unsecured) dividend is anticipated to be 100.0 percent, plus interest (if
     applicable).

                 Timely allowed general (unsecured) claims are as follows:

                                                    Allowed Amount       Interim Payment to
     Claim No.          Claimant                    of Claim             Date               Proposed Payment
                        NAVY FEDERAL
     1                  CREDIT UNION            $         38,403.85 $                 0.00 $          38,403.85
                        APEX CAPITAL
                        RESERVE, LP, AS
                        SUCCESSOR IN
     2                  INTEREST                $        411,621.55 $                 0.00 $        411,621.55
                        APEX CAPITAL
                        RESERVE, LP, AS
                        SUCCESSOR IN
                        INTEREST                $         37,045.93 $                 0.00 $          37,045.93
                        NAVY FEDERAL
                        CREDIT UNION            $           6,912.69 $                0.00 $           6,912.69
                Total to be paid to timely general unsecured creditors                $              493,984.02
                Remaining Balance                                                     $              173,743.95




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             Tardily filed claims of general (unsecured) creditors totaling $ 0.00 have been allowed and will
     be paid pro rata only after all allowed administrative, priority and timely filed general (unsecured) claims
     have been paid in full. The tardily filed claim dividend is anticipated to be 0.0 percent, plus interest (if
     applicable).

                 Tardily filed general (unsecured) claims are as follows:


                                                            NONE


            Subordinated unsecured claims for fines, penalties, forfeitures, or damages and claims ordered
     subordinated by the Court totaling $ 0.00 have been allowed and will be paid pro rata only after all
     allowed administrative, priority and general (unsecured) claims have been paid in full. The dividend for
     subordinated unsecured claims is anticipated to be 0.0 percent, plus interest (if applicable).

            Subordinated unsecured claims for fines, penalties, forfeitures or damages and claims ordered
     subordinated by the Court are as follows:

                                                            NONE

              To the extent funds remain after payment in full to all allowed claims, interest will be paid at the
     contract rate of interest applicable to a particular creditor’s contract with the debtor as provided in In re
     Dvorkin, 547 B.R. 880 (N.D. Ill. 2016). In this case, the agreed contract rate for the creditor Apex
     Capital Reserve, LP (“Apex”), is 9%, resulting in an interest payment to Apex of $37,045.93 on account
     of its unsecured claim, and the contract rate for Navy Federal Credit Union (“NFCU”) is 18%, resulting
     in an interest payment of $6912.69 to NFCU , on account of its unsecured claim.

            The amount of surplus returned to the debtor after payment of all claims and interest is
     $ 173,743.95 .


                                              Prepared By: /s/ N. Neville Reid
                                                                            Chapter 7 Trustee


     N. Neville Reid, Trustee
     Fox, Swibel, Levin & Carroll, LLP
     200 West Madison Street
     Suite 3000
     Chicago, IL 60606


     STATEMENT: This Uniform Form is associated with an open bankruptcy case, therefore, Paperwork Reduction
     Act exemption 5 C.F.R. § 1320.4(a)(2) applies.




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